               Case 17-23693-LMI          Doc 100       Filed 11/27/20    Page 1 of 36




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

In re:                                                   Case No.: 17-23693-LMI

Greenway, LLC,                                           Chapter 11

                Debtor.
                                 /

     INTERESTED PARTY GARY DOEHLA’S OBJECTION AND OPPOSITION
    RESPONSE TO FIRST AND FINAL FEE APPLICATION OF THE ASSOCIATES
         [ECF 95], MOTION TO STRIKE, AND MOTION TO DISGORGE

         Interested party Gary Doehla (“Doehla”), through undersigned counsel, files this Objection

and Opposition Response to First and Final Fee Application of The Associates (the “Fee

Application”) [ECF 95], Motion to Strike, and Motion to Disgorge. The First and Final Fee

Application of The Associates as Attorneys for The Debtor and Debtor-In-Possession (the “Fee

Application”) [ECF 95] produced by David Lloyd Merrill (“Merrill”) is insufficient, deficient, and

impermissible for a wide variety of reasons. The Fee Application is akin to a self-serving unsworn

affidavit. For these reasons, the Court should strike it from the record in its entirety, and the Court

should fashion an appropriate remedy in this seemingly unique and disappointing situation. The

Court should order the return of all funds paid by Doehla to Merrill in this case, or in the alternative,

fashion an appropriate award of fees to Merrill, resulting in a substantial amount owed from Merrill

to Doehla.

                                     Brief Procedural Background

         Doehla is the manager of the Debtor Greenway, LLC who signed the chapter 11 petition

[ECF 1]. At the time of filing, the Debtor was represented by attorney Tomas A. Pila [ECF 1, 2].

Mr. Pila’s representation in this case was terminated on January 23, 2018, and Merrill took over




                                                    1
                Case 17-23693-LMI              Doc 100        Filed 11/27/20        Page 2 of 36




as counsel for the Debtor [ECF 20]. Merrill was paid directly by Doehla for his services: a $25,000

retainer fee and an additional $5,000 in cash. See Exhibit 1, Affidavit of Gary Doehla.1 On August

9, 2018, Merrill was formally employed via order [ECF 33] which stated in pertinent part that

Merrill was retained on a general retainer pursuant to 11 U.S.C. §§ 327 and 330. Furthermore,

“[a]ny references to the retainer agreement stating ‘being earned upon receipt’, needing to be

‘replenished’ or that invoices will automatically be charged against the retainer are deemed

stricken and are of no force and effect.” (Emphasis added). [ECF 33, p.2]. This case proceeded

until May 13, 2019 with minimal legal work ever done, and this Court entered its Order Dismissing

Case upon the Motion to Dismiss of the United States Trustee [ECF 78]. Notably, this Court

retained jurisdiction to hear and adjudicate any issues, if any, at the request of the United States

Trustee, with regard to fees received by Debtor’s counsel in this matter. [ECF 78, ¶ 4].2

         Undersigned counsel was retained by Doehla to recoup the $30,000 (previously believed

to only be $25,000) in legal fees already paid to Merrill in this case. On August 17, 2020,

undersigned counsel communicated with Merrill regarding the fees paid in this case. What has

subsequently happened lends zero credence to the current Fee Application at hand. Merrill was

unable to produce any original billing from the case, if that original billing and time records ever

existed.3 Accordingly, undersigned counsel was forced to file the Motion to Reopen and Motion

for an Accounting [ECF 82] on August 31, 2020. Merrill responded and objected [ECF 86], but

this Court reopened this case on September 17, 2020 [ECF 88] and directed Merrill to file his fee

application [ECF 91], which is currently before the Court.


1
  The Affidavit of Gary Doehla also includes a copy of the Retainer Agreement (as Exhibit A to that affidavit)
signed by both Merrill and Doehla, which is referenced as the “Retainer Agreement” throughout this filing.
2
  See also Transcript, ECF 80, 6:18-22.
3
  Doehla denies having ever received any “periodic, hourly, progress, or other itemized billing from David Merrill
on any case, until he recently submitted the [Fee Application].” [Exhibit 1, ¶10]. The Fee Application states in its
first paragraph that “[t]he Associates have not attached any prior billing from dates prior to the date of this Motion
and intends that the fee requested will be for services rendered from December 7, 2017, through October 25, 2020.”


                                                          2
                   Case 17-23693-LMI             Doc 100        Filed 11/27/20        Page 3 of 36




                                                 Relevant Timeline

           A timeline of relevant events to give a clear picture at this juncture is an important frame

of reference through which the Court should view the Fee Application. While this timeline is

slightly arduous, it is absolutely necessary to review because of the highly unusual, unorthodox,

and impermissible methods and procedures that Merrill used to lead us to the absurd position we

are in today, with Merrill claiming that he is owed $36,898.00 for work done in this case, and not

acknowledging any amount already paid by Doehla. A review of what happened makes it rather

obvious what unfortunately occurred here:

           First – On December 8, 2017, Doehla and Merrill sign the Retainer Agreement, which

indicates that Merrill will represent the Debtor here and take limited action in a state court case in

Volusia County, Florida. These actions occur: Merrill does take over representation of the Debtor

here, and also files a Motion to Set Aside Final Judgment as Void Ab Initio, in Webster v. Doehla,

in the Circuit Court of the Seventh Judicial Circuit in and for Volusia County, Florida, Case No:

2014 31160 CICI. See Exhibit 2, the Motion filed by Merrill in that case (“Merrill’s State Court

Motion”), with attached transcript from a hearing in this Court omitted. That Motion was filed on

December 21, 2017,4 and Merrill failed to set the motion for hearing until March 2, 2018. The day

before the hearing set for April 5, 2018, opposing counsel filed its response in opposition, and on

April 5, 2018, the court entered an order denying Merrill’s State Court Motion and cancelling the

hearing. [See Exhibit 3]. That Order notes, among other things, that “[t]here is nothing within that

transcript which relieves counsel’s obligations to produce legal authority in support of their

position, make a specific prayer for relief, or even setting this motion for hearing. The transcript

is simply not enough, and this Court’s obligations are not delegable.” The Court denied the ill-



4
    This date coincidentally is on or about the same date that Doehla paid Merrill $5,000 in cash.


                                                            3
              Case 17-23693-LMI        Doc 100        Filed 11/27/20   Page 4 of 36




conceived motion which produced no legal authority in support of its position immediately and

without a hearing as soon as the opposing side responded. Merrill should receive no credit for

filing the de minimis State Court Motion. Based on the relevant timeline, it appears that Merrill

charged Doehla $5,000 in cash for Merrill’s State Court Motion, which was soundly derided by

the state court judge and denied without a hearing.

       The Retainer Agreement also indicates that Merrill “will file two additional Chapter 11

cases in the Bankruptcy Court, one for Gary Doehla and one for GHMD, LLC.” (Emphasis added).

Those two additional Chapter 11 cases were never filed. As contemplated by the Retainer

Agreement, Doehla pays Merrill $25,000.00.

       Second – On December 20, 2017, Merrill files his Notice of Appearance and Request for

Service [ECF 13], and the Joint Motion to Substitute [ECF 14] as counsel, replacing former

counsel Tomas Pila. On or about December 21, 2017, Merrill instructs Doehla to also pay him

$5,000 in cash, above and beyond the $25,000 already paid. Doehla complies and pays Merrill

$5,000 in cash. As discussed above, it appears that this $5,000 in cash was related to the state

court action contemplated by the Retainer Agreement, but Merrill had Doehla pay $5,000 in cash

separately from the $25,000 already paid only about two weeks earlier.

       Third – Merrill is substituted in as counsel, and eventually his Application to Employ

himself [ECF 22] comes on for hearing. The Court approves Merrill’s employment by Order [ECF

33], authorizing Merrill’s employment on a general retainer, pursuant to 11 U.S.C. §§ 327 and

330, and specifically noting that “[a]ny references to the retainer agreement stating ‘being earned

upon receipt,’ needing to be ‘replenished’ or that invoices will automatically be charged against

the retainer are deemed stricken and are of no force and effect.

       Fourth – This case proceeds, but there is little legal work actually done. No disclosure




                                                 4
                Case 17-23693-LMI             Doc 100        Filed 11/27/20        Page 5 of 36




statement or plan is ever filed. Merrill filed one substantive motion related to some confusion

regarding the automatic stay and its effect on state court actions, but that motion was denied.5 The

case was open for fifteen months and twenty days with Merrill as counsel, and went nowhere. The

Debtor-In-Possession reports reflect practically no activity except for payment of United States

Trustee (“UST”) fees. See, e.g. ECF 70, which shows zero activity and is essentially a blank report.

        Fifth – The UST moves to dismiss the case on April 15, 2019 [ECF 71]. In pertinent part,

that Motion to Dismiss states that:

        2. The Debtor’s Bankruptcy Schedules (“Schedules”) and Statement of Financial
        Affairs (“SOFA”), disclose, among other things, that the Debtor is not operating,
        has no employees, no income, no cash or cash equivalents, no account receivables,
        or investments. The Debtor discloses that it holds title to real estate in Taylor
        County, Florida, valued at $17,000. In SOFA item 7.1, the Debtor discloses a
        malpractice claim pending in Volusia County, Florida, of unknown value.

        3. According to the Debtor’s Chapter 11 Case Management Summary (ECF 7), the
        Debtor’s reason for filing this case was due to the “[potential] exposure to pending
        litigation.” Upon information and belief, this litigation is the same proceeding
        discussed above in Volusia County, Florida. The Debtor filed its Motion to Set
        Aside Final Judgement as Void Ab Initio (ECF 30), and same was denied by this
        Court at ECF 57. With this outcome, it is not clear if there is anything else for this
        Debtor to do in bankruptcy.

        4. It has been well over a year since the filing of this case and the Debtor has done
        nothing to move this case towards confirming a plan of reorganization.

        5. The Debtor’s exclusivity period under § 1121(b) was extended to December 6,
        2018, by this Court’s order at ECF 55. Debtor filed a second motion to extend
        exclusivity on December 6, 2018 (ECF 64), requesting an extension through March
        6, 2019. That motion was scheduled for hearing on January 2, 2019, however, there
        is no corresponding order on the docket, therefore, it is not clear to the United States
        Trustee, whether the Debtor’s exclusivity period expired already. If the Debtor’s
        exclusivity period expired, the Debtor has not filed a Disclosure Statement and


5
  See ECF 30, Debtor’s Motion to Set Aside Final Judgment Ab Initio, ECF 45, Creditor Daniel J. Webster, P.A.’s
Response in Opposition thereto, and ECF 57, Order Denying Debtor’s Motion to Set Aside Final Judgment as Void
Ab Initio. “The Court previously stated that the state court’s grant of the motion to strike was a violation of the
automatic stay. However, the order that is the subject of the Motion granted summary judgment with respect to the
Debtor’s counterclaim, which ruling was not stayed. The ruling on the motion to strike duplicated the relief already
granted by summary judgment so the fact that the state court’s additional ruling is void has no impact on the
summary judgment. (Emphasis added). [ECF 57, fn. 1].


                                                         5
                Case 17-23693-LMI             Doc 100         Filed 11/27/20        Page 6 of 36




         Plan, and pursuant to § 1112(b)(4)(J), failure to confirm a plan within the time fixed
         by § 1121(b) is cause for dismissal.6

         8. The Debtor’s failure to move this case forward to confirmation demonstrates a
         substantial or continuing loss to or diminution of the estate and the absence of a
         reasonable likelihood of rehabilitation. Pursuant to § 1112(b)(4)(A) the absence of
         a likelihood of rehabilitation is cause to dismiss this case.

         9. The foregoing factors are indicative of the Debtor’s inability to manage its affairs
         and effectively maneuver through the reorganization process. There appears to be
         an absence of a reasonable likelihood of rehabilitation and an unlikely ability to
         effectuate a plan, and therefore, it is in the best interest of creditors and the estate
         that this case be dismissed.

         In other words, the UST observed that nothing was being done in this case, there was no

chance for success, and that it was in the best interest of creditors and the estate that the case be

dismissed.

         Sixth – The Motion to Dismiss comes on for hearing. Merrill appears by phone, and

Doehla appears in the courtroom, noting that “I’m not contesting anything of the dismissal. I just

have a concern about the fees.” [See Transcript, ECF 80, 4:12-14]. The Court proceeds to dismiss

the case with a one-year prejudice period, and then the attorney for the UST states “[a]pparently

the trust that he manages is the one that paid the $25,000 retainer in this case. There has been no

fee application. Would the Court retain jurisdiction to hear any fee issues?” [Id. at 6:18-22]. The

Court agreed and retained jurisdiction, and then Merrill stated “I will point out, based on the

retainer – on the application that we filed, there were no fees taken for this case, but I’m happy for

the Court to retain jurisdiction, and we can deal with that later.” [Id. at 7:1-5]. This case is closed

on August 2, 2019.

         Seventh – In mid-August, 2020, Doehla hires undersigned counsel to recoup the fees paid

in this case that went nowhere. Undersigned counsel reaches out to Merrill. Merrill is unable to


6
 Subsequent paragraphs 6 and 7 relate to failure to file timely monthly operating reports, and are omitted for
brevity.


                                                          6
                Case 17-23693-LMI             Doc 100        Filed 11/27/20        Page 7 of 36




produce any records of timekeeping relating to this case. Accordingly, undersigned counsel files

the Motion to Reopen and Motion for an Accounting [ECF 82], simply asking the Court to reopen

this case and direct Merrill to provide an accounting. Merrill objects and responds [ECF 86],

stating among other things that he has no time entries due to a computer virus and that he would

have to “redo” the invoices with the assistance of “collateral sources of information.” Merrill

furthermore states that none of the $25,000 retainer would be set aside for this case, and that this

case would proceed with no retainer, and that the $25,000 retainer was “credited to the several

other cases that Mr. Doehla asked to be represented on.”7 “The entirety of the retainer would be

for two other proposed cases as well as at least one other case pending in state court.” Just to be

clear, in this filing, there can be no mistake that Merrill is claiming that he billed the $25,000

retainer to the limited state court action case and two bankruptcy cases that were never filed, and

that there was no retainer paid in this case, which is contrary to the language of the Retainer

Agreement and the Order approving Merrill’s employment [ECF 33]. Doehla paying Merrill

$25,000 for the three other cases, two of which don’t exist, and one was just filing an ill-conceived

and poorly executed motion in state court, is blatantly absurd.

        Eighth – Undersigned counsel files his Reply [ECF 87] and Motion to Disgorge as soon

as possible, pointing out that Merrill was retained on a general retainer pursuant to 11 U.S.C. §§

327 and 330, and noting that any recreated or redone records in this case would be “dubious at

best, and their probative value would be less than worthwhile.” Any “redoing” of the invoices at

this point in time lacks a substantial amount of credibility that would never be an issue with original

documents. Undersigned counsel requested disgorgement of the $25,000 retainer.8


7
  Those other cases are two bankruptcy cases that were never filed and the very limited action in Volusia County, as
discussed supra.
8
  At that point in time, undersigned counsel was unaware of the subsequent $5,000 cash payment from Doehla to
Merrill, which now seems to correspond to the limited state court action.


                                                         7
                Case 17-23693-LMI              Doc 100        Filed 11/27/20        Page 8 of 36




         Ninth – The Motion to Reopen and Motion for an Accounting [ECF 82], along with

Merrill’s Response and Objection [ECF 86], and undersigned Reply and Motion to Disgorge [ECF

87] come on for hearing. In pertinent part, the Court questioned Merrill regarding the Retainer

Agreement and the $25,000 retainer.

         The Court: Then I have an order allowing you to be retained, which specifically
         says the retainer cannot be used in the manner that the retainer agreement describes.
         Then we have a final order that retains jurisdiction of your fees. So what I’m trying
         to understand from you is, are you telling me that you never received $25,000 from
         Mr. Doehla, or are you telling me that you have separate retainer agreements from
         Mr. Doehla on those other matters that describe that the money was paid to you,
         the 25,000, was not the $25,000 referenced in the retainer agreement that was
         attached to your application to be employed?

         Mr. Merrill: Different. I’m saying that the retainer agreement – that the Greenway
         case was a tagalong, and that at the hearing on the 14th of February, 2018, it was
         put in the sunshine and vetted and explained that none of the retainer would be a
         part of the Greenway case. And so the retainer that’s being talked about isn’t the
         25,000, it’s a phantom retainer of zero. It doesn’t define the fact that the retainer is
         zero, but it is, in fact, zero, and always was intended to be zero.”9 [See Transcript,
         ECF 82, 14:4-15:2].

         …

         Mr. Merrill: In the event that you direct the filing of a fee application, I would
         ordinarily be separating the various entities, but as the two were absolutely and
         intimately related to this affiliated entity, I would like the opportunity to include
         that time in any fee application, as it is relevant and related, and is part of that
         retainer agreement.10

         The Court: Here’s what I’m going to do, Mr. Merrill. If I order the filing of a fee
         application, you will take a look at the Bankruptcy Code, and you will file the fee
         application and your retention order – the order retaining you – and you will file
         the fee application that you believe is appropriate under the Bankruptcy Code, and
         you decide what that is. [Id. at 18:7-22].


9
  Notably, this response indicates that there are no other retainer agreements between Doehla and Merrill, and that
we are indeed talking about 4 cases: this case, limited action in a state court case, and two bankruptcy cases that
were never filed.
10
   It appears here that Merrill is positing that he will simply combine all of the time that he expended on any Doehla
matter into a fee application for this case for this Debtor, where nothing was really done. This may in fact be what
Merrill has done with his Fee Application [ECF 95]. Of course, pursuant to 11 U.S.C. § 330(a)(4)(A)(ii)(I-II), the
Court shall not allow compensation for services that were not reasonably likely to benefit the Debtor’s estate or for
services that were not necessary to the administration of the case. (Emphasis added).


                                                          8
                 Case 17-23693-LMI              Doc 100         Filed 11/27/20         Page 9 of 36




         Tenth – The Court grants the Motion to Reopen by Order [ECF 88] and after reviewing

audio from prior hearings enters an Order Setting Deadline to File Fee Application [ECF 91],

which directed Merrill to prepare and file his fee application and motion to approve.

         Eleventh – Merrill files his Amended Disclosure of Compensation [ECF 94].11 See Exhibit

4. The Disclosure of Compensation of Attorney for Debtor, Form 2030 (updated December 2015)

is a standard form used in every bankruptcy court in the United States, in conjunction with local

rules. The standard instructions for the form are included as Exhibit 5.12 In addition to basic

instructions for identifying the judicial district, inserting the name of the debtor as it appears in the

bankruptcy petition, and including the appropriate case number, the “instructions for the rest of

the form are self-evident.” However, Merrill has modified the form by indicating that he took zero

retainer in this case, but adding a footnote to explain “$25,000 was paid as a retainer for multiple

matters, of which this is one. However no portion of the retainer paid was set aside for this case.”

This simply does not make sense in light of prior orders in this case as discussed supra, and the

absurd nature of this alleged “phantom retainer of zero” is exposed clear as day by a simple

standard form, whose instructions are “self-evident” but are impossible for Merrill to follow given

the nature of what Merrill would have this Court believe. In other words, Merrill claims that he

took no retainer in this case, but did take a $25,000 retainer for a set of cases, including this one,

but this one was specifically zero. None of this is credible or believable.

         Twelfth – Merrill files the Fee Application. The Fee Application requests $36,898.60 in

net payment requested.13 In this History of Fees and Expenses section, there is nothing listed for


11
   Undersigned counsel cannot find a prior Disclosure of Compensation for Merrill on the docket.
12
   Downloaded from The United States Courts website, https://www.uscourts.gov/forms/bankruptcy-
forms/disclosure-compensation-attorney-debtor-0 (Last visited November 25, 2020, select “DOWNLOAD FORM
INSTRUCTIONS”).
13
   This includes entries from 8/17/20 – 10/25/20 totaling $2,662.60, which ostensibly involve Merrill defending the
$30,000 he already received from Doehla, and while Doehla had already employed undersigned counsel. Doehla
should not be forced to pay both sides of the litigation in this fee dispute, and none of these sorts of time entries are


                                                            9
               Case 17-23693-LMI             Doc 100          Filed 11/27/20      Page 10 of 36




date, source, amount of third-party payment and/or credit received: Merrill has given Doehla no

credit for the $25,000 that Doehla delivered to Merrill pursuant to the Retainer Agreement and the

$5,000 in cash that Doehla delivered pursuant to Merrill’s instructions, likely related to the limited

state court action contemplated by the Retainer Agreement. In effect, Merrill is asking for

$36,898.60 in addition to $30,000 already received for a total of $66,898.60 in compensation for

the minimal work done in this case that was dismissed after a motion from the UST which

highlighted the lack of work and progress, extremely limited and ill-conceived action in a state

court case that also went nowhere, and for two bankruptcy cases that were never filed. This request

is shocking.

The Fee Application is Not Based on Actual, Contemporaneous Records, is Not Supported
                        by Any Evidence, and Should be Stricken

         Section 330 of Title 11 provides that the court “may award … a professional person
employed under section 327… (a)(1)(A) reasonable compensation for actual, necessary services
rendered by the … professional person, and (a)(1)(B) reimbursement for actual, necessary
expenses.” Furthermore, in determining the amount of reasonable compensation to be awarded to
a professional person, the court shall consider the nature, extent, and the value of such services,
taking into account all relevant factors, including the list of factors specified in 11 U.S.C. § 330
(a)(3)(A-F).
         Under normal circumstances, Merrill would have provided his actual, contemporaneously
created time records, and the parties could have had a reasonable discussion or disagreement about
those records, and reasonable litigation might occur, where each side would argue about the nature,
extent, and the value of such services as indicated in the actual, contemporaneous records. Indeed,
as this Court indicated at the hearing on the Motion to Reopen and Motion for an Accounting on
September 16, 2020, a Fee Application may be required, and “[t]hen we’ll determine the
reasonableness of whatever fees are requested, and then the balance will be returned to Mr. Doehla




appropriate for the Court to consider a fee award pursuant to 11 U.S.C. 330 (a)(1)(A) and/or (3)(A-F) as actual,
necessary services for the Debtor.


                                                         10
               Case 17-23693-LMI            Doc 100         Filed 11/27/20       Page 11 of 36




or to whomever paid the retainer.” [Transcript, ECF 82 at 17:9-12]. But that presupposes that the
time entries in the Fee Application are bona fide, legitimate entries, which is not the case here.
        There are admittedly no time records that Merrill is basing the Fee Application upon. To
directly engage with Merrill’s Fee Application from the start is to take the records provided at their
face value, which Doehla and this Court should not and cannot do. The time entries provided
within the Fee Application are merely Merrill’s recreation of what those time entries could have
been, or more likely what Merrill hopes they were. The time entries created well after the fact are
unsworn and unsupported by any corroborating evidence, and the Fee Application itself as a whole
is akin to a self-serving affidavit.
        Merrill’s failure to have a reasonable record retention system in place that was impervious
to computer viruses (perhaps, for example, by taking advantage of easily available cloud storage,
or basic email), is his own fault, assuming that his computer virus claims are true and that he
actually kept detailed time records that were destroyed by the “HARMA” virus.14 A 2006 Florida
Bar Ethics Opinion states that “[f]iles stored electronically must be readily reproducible and
protected from inadvertent modification, degradation, or destruction.”15                     This non-binding
advisory ethics opinion was notably released over 14 years ago. Proper electronic storage of
important documents is no mystery or Herculean task: it is simple, commonplace, and required.
Merrill either failed to do so, or never kept time records at all, but in any event he had no time
records, and was forced to “redo” them, and those redone records are now before the Court.
        The failure to maintain such records may result in a denial of any fees to counsel. In re
Newman, 2003 WL 751327, at *3 (Bankr. M.D. Fla. Feb. 18, 2003) (citing In re Haynes, 216 B.R.
440, 443 (Bankr. D. Colo. 1997) (“Without such time records, attorneys cannot carry their burden
of justifying the fees charged or requested.”))              A party seeking attorneys’ fees must keep
meticulous, contemporaneous time records that reveal for each lawyer whose fees are sought, all
hours for which compensation is requested and how those hours are allocated to specific tasks.
Simon v. Leaderscape LLC, 565 F.Supp.2d 1332, 1335 (S.D. Fla. 2008). When a Court is faced
with a determination of whether or not an attorney’s fee is reasonable, the moving party “must
provide the Court with contemporaneous time records detailing the dates, amount, and specific



14
   A brief Google search indicates that the HARMA virus is a type of ransomware, in which files are locked and
inaccessible unless you pay a ransom fee to unlock your files.
15
   See Exhibit 6, Florida Bar Ethics Opinion 06-1 from April 10, 2006, ¶1.


                                                       11
                  Case 17-23693-LMI            Doc 100         Filed 11/27/20   Page 12 of 36




services provided.” Nibbelink v. Wells Fargo, N.A. (In re Nibbelink), 403 B.R. 113, 122 (Bankr.
M.D. Fla.2009) (citing In re Newman, 2003 WL 751327, at *3.
           Contemporaneous time records, if they ever existed, do not exist now. As Merrill states:
           Ordinarily it would be a simple matter of resending the invoices previously sent.16
           However, the undersigned suffered an [sic] catastrophic loss of all his computer
           data to the HARMA virus in November, 2019. All of the undersigned’s data would
           have been completely lost had it not been for the fact that he had transitioned from
           a prior physical computing system in March, 2019, which effectively “air gapped”
           any data that was on those computers. The HARMA virus is, as was explained to
           the undersigned by a member of the IT team that ultimately got him back up and
           operational, a next generation virus that lies in wait, looking for any backup files
           that exist, and corrupting those as well, wreaking an utter loss of data in its path. It
           is for this reason that resending the invoices was not a simple matter as it ordinarily
           would have been. [ECF 86, ¶ 7].

           Merrill further admits that he is “redoing the invoices” which “requires the use of

collateral sources of information.” [ECF 86, ¶ 9]. No discussion of the purported collateral

sources is ever provided in any document, including the Fee Application. While the

Eleventh Circuit has held that the time records need not necessarily be contemporaneous,

other reliable evidence of attorney, hours, and dates for the time sought for specified tasks

are required. See Jean v. Nelson, 863 F.2d 759, 772 (11th Cir. 1988), aff’d, 496 U.S. 154

(1990).       In Jean, the Eleventh Circuit Court of Appeals rejected the government’s

contention that the attorney’s fees requests were not supported by sufficient

documentation, “given the detailed record in the fee proceedings … and that

contemporaneous time records are not indispensable where there is other reliable evidence

to support a claim for attorneys fees.” Jean, 863 F.2d at 772.

           Here, there is no detailed record in any fee proceedings, and there is no other

reliable evidence presented to support a claim for attorney’s fees. There are only the

admittedly “redone” time entries produced by Merrill, which are admittedly recreations


16
     Doehla denies ever receiving any invoices. See Exhibit 1.


                                                          12
               Case 17-23693-LMI             Doc 100          Filed 11/27/20      Page 13 of 36




from unknown and unpresented “collateral sources.” Because the Fee Application is

admittedly a post-hoc fabrication, and there is no other supporting evidence, the entirety of

the Fee Application should be stricken or disallowed in full.

                        A Heavy Downward Departure Is Appropriate

         Should the Court be unwilling to strike and disallow the Fee Application in total,

then a heavy downward departure from the amount of fees requested is appropriate.

Pursuant to 11 U.S.C. § 330 (a)(2), the Court may award compensation that is less than the

amount of compensation that is requested. This Court can and should review the totality

of the bizarre circumstances here and reduce the compensation accordingly, and has made

similar reductions in other cases. See, e.g., In re Nestor, 2019 WL 4735833 at *10 (Bankr.

S.D. Fla. Sept. 26, 2019)(the Court determined that it was appropriate to reduce the fees

awarded to a law firm by $38,195 due to the law firm’s performance).

         Merrill has requested the total amount of $36,989.60. This is a shockingly high

number, in part because the Fee Application gives Doehla zero credit for the $25,000.00

retainer paid in this case, and the $5,000.00 in additional cash that Doehla gave to Merrill,

likely for a state court case that was contemplated by the Fee Application.

                The Disappearing $25,000 Retainer and the $5,000 in Cash

         While Merrill claims that there was no retainer in this case, or that it was a

“phantom retainer of zero” [Transcript, ECF 93, 14:25],17 the facts are much simpler.

Merrill was paid directly by Doehla for his services: a $25,000 retainer fee and an

additional $5,000 in cash. See Exhibit 1, Affidavit of Gary Doehla. On August 9, 2018,



17
   Merrill also stated “We didn’t take any retainer in this case.” [Transcript, ECF 82, 12:14]. “There was never a
retainer paid in the Greenway case at all.” [Transcript, ECF 82, 15:4-5].




                                                         13
             Case 17-23693-LMI         Doc 100        Filed 11/27/20   Page 14 of 36




Merrill was formally employed via order [ECF 33] which stated in pertinent part that Mr.

Merrill was retained on a general retainer pursuant to 11 U.S.C. §§ 327 and 330. The

employment letter provided by Merrill contemplates the possible representation which

necessitated a retainer: taking over the representation of Greenway LLC in case 17-23693-

LMI (this happened, Merrill did take over representation in this case), filing two additional

Chapter 11 cases in the Bankruptcy Court (this did not happen), and limited action in a

state court case in Volusia County, Florida (which did happen, but it was indeed limited

action and poorly executed).

        What we are left with is a retainer agreement that specifically states “[t]he Client

agrees to pay the Firm a retainer of $20,000.00 for fees… [i]n addition, the Client agrees

to pay a $5,000 cost retainer. … In order to protect the Firm we will require a retainer of

$25,000 as set forth above.” [ECF 86-1]. The retainer agreement is dated December 8,

2017. The $25,000 check is unsurprisingly also dated as December 8, 2017, and was

clearly a retainer for this case. The $5,000 in cash was obtained on or about December 21,

2017.

        And yet, Merrill claims that there was no retainer in this case (and never mentions

the $5,000 in cash paid to him), and instead Merrill claims that “[n]one of the retainer

would be set aside for this case, which would proceed with no retainer, and the entirety of

the retainer would be for two other proposed cases as well as at least one other case pending

in the state court.” [ECF 86, ¶ 5]. The two other proposed cases never happened and the

action in the state court was admittedly “limited action.” If the $25,000 retainer was never

going to go to the Greenway, LLC representation, and the two other proposed cases never

materialized, where did the $25,000 retainer go? It has not been returned to Doehla.




                                                 14
               Case 17-23693-LMI       Doc 100        Filed 11/27/20   Page 15 of 36




Merrill claims that “the entire amount of the retainer paid was ultimately credited to the

several other cases Mr. Doehla asked to be represented on and zero dollars of the amount

paid was attributable to this Debtor.” [Id. at ¶ 8]. There are no other records showing that

this retainer paid was “ultimately credited to several other cases” (two of which do not even

exist).

          Merrill would have this Court believe that the $25,000 retainer was credited to

“other cases,” without any mention of being paid an additional $5,000 in cash, and would

now like to be awarded $36,989.60, in addition to the $30,000 he has already been paid but

has no records of receiving that money or how it was attributed to other cases. There has

been no evidence of $25,000 of work being done in other cases, and yet credit for that

payment (and the $5,000 cash payment) has disappeared and is nowhere to be found.

          That proposition is absurd and hardly squares with the order granting employment

retained on a general retainer pursuant to 11 U.S.C. §§ 327 and 330. This proposition is

so absurd and unusual that Merrill had to personally modify Form 2030 by putting a

footnote on his indicated retainer of “$0.00” which states “$25,000.00 was paid as a

retainer for multiple matters, of which this is one. However no portion of the retainer paid

was set aside for this case.” The explanation is so bizarre and unorthodox that it cannot be

readily described on an official United States government form designed to explain

precisely and simply the disclosure of compensation of attorney for Debtor.

                         Incorrect Standard for Fee Applications

          Merrill utilizes the incorrect factors in his Fee Application to pursue an award.

“The general standards for setting attorney’s fees in the Eleventh Circuit are now found in

Norman v. Hous. Auth. of City of Montgomery, 836 F.2d 1292 (11th Cir. 1988). Although




                                                 15
               Case 17-23693-LMI             Doc 100         Filed 11/27/20      Page 16 of 36




Norman involved application of the civil rights fee-shifting statute, 42 U.S.C. Section 1988,

guidelines established in the civil rights cases have been applied in bankruptcy cases for

the determination of appropriate fees. Prior to the Norman decision, the Eleventh Circuit

standards for reasonable attorney’s fees were found in Johnson v. Georgia Highway

Express, 488 F.2d 714 (5th Cir. 1974). The Norman decision reflects an effort by the

Eleventh Circuit to conform with recent United States Supreme Court decisions. In re

Davis, 1989 WL 1718763 (Bankr. S.D. Ga. Sept. 8, 1989). Unfortunately, Merrill only

used the standards presented by Johnson v. Georgia Highway Express.

        The Norman factors start with an analysis of a reasonable hourly rate (hours

reasonably expended multiplied by a reasonable hourly rate).18                     Following that, an

ascertainment of reasonable hours, with “excessive, redundant, or otherwise unnecessary”

hours should be excluded from the amount claimed. Next, the Court must consider the

“necessity of an adjustment for the results obtained. “If the result was excellent, then the

court should compensate for all hours reasonably expended.” Norman, 836 F.2d at 1302

(internal citation omitted). If the result was partial or limited success, then the lodestar

must be reduced to an amount that is not excessive. In doing so, the court may attempt to

identify specific hours spent in unsuccessful claims or it may simply reduce the award by

some proportion. (Emphasis added). A reduction is appropriate if the relief, however

significant, is limited in comparison to the scope of the litigation as a whole. Where all

theories derive from a common core of operative facts, the focus should be on the

significance of the overall results as a function of total reasonable hours. Id.




18
  Here, the Johnson v. Georgia Highway Express factors are relevant and useful, but they do not explain the entire
story.


                                                        16
               Case 17-23693-LMI         Doc 100        Filed 11/27/20   Page 17 of 36




         The procedure is further outlined in Norman, and appears to specifically

contemplate the situation the Court now finds itself in.

         “For decades, the law in this circuit has been that: The Court, either trial or
         appellate, is itself an expert on the question and may consider its own
         knowledge and experience concerning reasonable and proper fees and may
         form an independent judgment either with or without the aid of witnesses
         as to value. Therefore, where the time of fees claimed seem expanded or
         there is a lack of documentation or testimonial support the court may make
         the award on its own experience. Where documentation is inadequate, the
         district court is not relieved of its obligation to award a reasonable fee, but
         the district court traditionally has had the power to make such an award
         without the need of further pleadings or an evidentiary hearing. Likewise,
         no additional evidentiary hearing or pleadings are required where fee
         counsel fails to provide evidence on some factor which it contends the court
         ought to take into account. It is perfectly proper to award attorney’s fees
         based solely on affidavits in the record. Id. at 1303. (Internal citations
         omitted)

                       Requested Departure from the Time Entries

         Should the Court be unwilling to completely strike the “redone” time entries

because they are admittedly not contemporaneous or supported by any evidence, Doehla

requests that the Court consider the Norman factors and procedure and utilize its own

expertise and form an independent judgment as to the amount of fees that should be

awarded to Merrill in this case. Engaging directly with the post-hoc fabricated time entries

would be an exercise in fantasy, not worth anyone’s time or effort, and it would lend them

validity that is not warranted.

         In summary, and hopefully helpful to the Court’s analysis under Norman:

     •    Merrill failed to keep proper records, and has provided time entries that are post-

          hoc fabrications.

     •    Merrill cannot reasonably explain his concept of a “phantom retainer of zero” in

          this case, it does not fit into standard form 2030, and this court approved Merrill’s




                                                   17
             Case 17-23693-LMI         Doc 100        Filed 11/27/20   Page 18 of 36




         employment pursuant to 11 U.S.C. §§ 327 and 330, striking a provision that the

         retainer was “earned upon receipt.”

    •    This case went nowhere and minimal legal work was done, other than sorting out

         some apparent confusion regarding the automatic stay (see footnote 5). Merrill

         did file various motions to extend time and several Monthly Operating Reports

         that reflect practically no activity except for payment of UST fees.

    •    Doehla paid Merrill $25,000 as a retainer for this case, two bankruptcies that were

         never filed, and limited action in a state court case… where it appears that Merrill

         instructed Doehla to also pay him $5,000 in cash, even though that case was

         specifically contemplated by the Retainer Agreement. That $30,000 total has

         neither been credited in the Fee Application, nor returned to Doehla.

    •    Merrill states that the $25,000 was credited to the “other cases” but nothing of

         significance was ever done in those cases. Nothing of significance was really done

         in this case either.

    •    Analysis of a Fee Application in this case is bound by 11 U.S.C. 330 (a)(4)(A)(i-

         ii), and the Court shall not allow compensation for unnecessary duplication of

         services or services that were not reasonably likely to benefit the Debtor’s estate

         or necessary to the administration of the case.

                                            Conclusion

        The Court now has a chance to undo an injustice in this case. Merrill has already been paid

$30,000 for this case that went nowhere, a pointless state court motion, and two bankruptcy cases

that do not exist. That payment in and of itself is unreasonable. To grant Merrill an additional

$36,898.00 on top of that would be unfathomable. This Court should see the Fee Application for




                                                 18
              Case 17-23693-LMI          Doc 100        Filed 11/27/20    Page 19 of 36




what it is: a post-hoc fabrication without evidence that is self-serving to Merrill, strike it, and direct

disgorgement of the $30,000 that Doehla paid. In the alternative, the Court should fashion a

resolution pursuant to the procedure outlined in Norman, and heavily reduce the fees awarded to

Merrill for his work in this case, while giving credit to Doehla for the $30,000, resulting in a

substantial payment due from Merrill to Doehla. Merrill does not deserve anywhere near $68,898

as requested in this case.

        WHEREFORE, interested party Gary Doehla respectfully requests that this Court enter

an order striking the Fee Application and directing Merrill to disgorge the $30,000 that Doehla

already paid, or in the alternative, that this Court fashion its own remedy pursuant to Norman,

heavily reduce the amount of fees requested by Merrill while crediting Doehla for $30,000 in

payments, resulting in a substantial payment due from Merrill to Doehla.

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and that I am in compliance with the additional qualifications

to practice in this court set forth in Local Rule 2090-1(A).

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served on

all counsel of record in this case as listed on the electronic service systems with the Clerk of the

Court for this this 27th day of November, 2020.

                                                FENDER, BOLLING, AND PAIVA, P.A.

                                                /s/ Michael H. Bolling
                                                MICHAEL H. BOLLING, ESQ.
                                                Florida Bar No. 0117626
                                                Attorney for Interested Party Gary Doehla
                                                2645 Executive Park Drive, Ste. 137
                                                Weston, FL 33331
                                                Telephone: (954) 618-1003
                                                Email: michaelbollingpa@gmail.com



                                                   19
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 20 of 36




                    Exhibit 1
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 21 of 36
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 22 of 36
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 23 of 36
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 24 of 36
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 25 of 36
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 26 of 36
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 27 of 36




                       Exhibit 2
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 28 of 36
                      Case 17-23693-LMI         Doc 100     Filed 11/27/20      Page 29 of 36


                                                           IN TRE CIRCUIT COURT, SEVENTH
                                                           JUDICIAL CIRCUIT,IN AND FOR
                                                           VOLUSIA COUNTY,FLORIDA

                                                           CASE NO.:      2014 31160 CICI
                                                           DIVISION:      31

     DANIEL J WEBSTER PA
     Plaintiff(s)
     V.
     GARY DOEHLA
     Defendant(s)



      ORDER DENYING COUNTER-PLAINTIFF'S MOTION TO SET ASIDE FINAL JUDGMENT
                    AS VOID AB INITIO AND CANCELING HEARING

            THIS CAUSE has come before the Court upon Defendant's Motion to Set Aside Final Judgment

     as Viod Ab Initio and Canceling Hearing. The Court being fully advised in the premises, finds as follows:

            The Counter-Plaintifffiled the motion to set aside the final judgement based upon a transcript from

     a status conference hearing in Greenway LLC bankruptcy case #17-23693-LMI. A review of that

     transcript shows the Counter-Plaintiff's former bankruptcy attorney, Thomas Pila, advising Judge Isicoff

     that this Court entered an order striking Greenway's LLC's pleadings in violation ofthe stay. None of this

     Court's numerous orders, all making specific provisions for the stay applicable to Greenway LLC, were

     produce to the bankruptcy court.(see DKT# 122, 123, and 124) The Court is reluctant to say that Mr. Pila

     misled the bankruptcy court via omission. The transcript is what it is. The statements of Judge Isicoff seem

     to be more related to a potential case management issue rather than a ruling. It is clear this issue was not

     noticed that day in bankruptcy court. There are no pleadings or papers which accompany this motion

     suggesting that an order was ever issued on this matter. Rather, it seems to be an invitation that if the

     situation is as Mr. Pila stated than a motion needs to be filed with this court. There is nothing within that

     transcript which relieves counsel's obligations to produce legal authority in support oftheir positon, make

     a specific prayer for relief, or even setting this motion for hearing. The transcript is simply not enough,




                                             Exhibit 3                                           Order-Civil — 3/11/2016



04/05/2018 01:54:14 PM Clerk of the Circuit Court, Volusia County,Florida
                   Case 17-23693-LMI      Doc 100     Filed 11/27/20     Page 30 of 36


and this Court's obligations are not delegable. The Court will review this matter on the merits should the

Counter-Plaintiff file a subsequent motion.

       It is ORDERED AND ADJUDGED that said Motion is hereby DENIED. The hearing set for April

23rd, 2018 is   canceled.

       DONE AND ORDERED in chambers, in Volusia County, Florida, on 05 day of April, 2018.


                                                            4/5/20181:5 "'- 1 2014 3116C)
                                                                        ICI




                                                           e-Signed 415/2018 1:53 PM 2014 31160 CICI

                                                                       CIRCUIT JUDGE
Copies to: All parties of record     CASE NO.: 2014 31160 CICI


 DANIEL J WEBSTER PA
 GARY DOEHLA
 GREENWAY LLC
 GHMDLLC
 DANIEL J WEBSTER PA
 GARY DOEHLA
 DANIEL J WEBSTER PA




                                                                                          Order-Civil -3/11/2016
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 31 of 36




                        Exhibit 4
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 32 of 36
Case 17-23693-LMI   Doc 100   Filed 11/27/20   Page 33 of 36
             Case 17-23693-LMI         Doc 100     Filed 11/27/20     Page 34 of 36




                                                                           Instructions, Form 2030
                                                                                             12/15

          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
Instructions

Caption

       1.      Identify the Judicial District in which the bankruptcy case was filed. Example:
               “Eastern District of California.”

       2.      “In re”: Insert the name of the debtor as it appears in the bankruptcy petition.

       3.      “Case No.”: Insert the bankruptcy case number assigned by the court at the time
               of filing.

       The instructions to the rest of the form are self-evident.

       Be sure to cross out any services listed in question 5 which will not be provided. Special
care should be taken to complete questions 5(e) and 6 in detail, specifying services to be
rendered and not to be rendered.

      Additional sheets should be attached to the form as needed. A copy of the retainer
agreement, if any, should be attached to form.

General Information for the Clerk

       This form should be filed by the attorney for the debtor in all bankruptcy cases, including
involuntary cases, without regard to the chapter under which the case is proceeding.

        Rule 2016(b) requires that the information requested in this form be filed with the court
within 14 days after the order for relief is entered. The clerk should seek direction from the chief
bankruptcy judge in advance as to the proper procedure to be followed if the attorney for the
debtor fails to file this form within the proper period.




                                          Exhibit 5
             Case 17-23693-LMI         Doc 100     Filed 11/27/20     Page 35 of 36




                              FLORIDA BAR ETHICS OPINION
                                     OPINION 06-1
                                      April 10, 2006

                           Advisory ethics opinions are not binding

        Lawyers may, but are not required to, store files electronically unless: a statute or rule
requires retention of an original document, the original document is the property of the client, or
destruction of a paper document adversely affects the client’s interests. Files stored
electronically must be readily reproducible and protected from inadvertent modification,
degradation or destruction.

RPC:           4-1.5(f)(4), 4-1.6, 4-1.8(j), 4-7.7(h), 5-1.2(b)(3), 5-1.2(d)
Opinions:      63-3, 71-62, 81-8, 88-11 (Rec.), ABA Informal Ethics Opinion 1127 (1970), New
               York County Ethics Opinion 725 (1998), New York State Ethics Opinion 680
               (1996), North Carolina Ethics Opinion RPC 234 (1996)

        The Professional Ethics Committee has been directed by The Florida Bar Board of
Governors to issue an opinion regarding electronic storage of law firm files. The bar has
received many inquiries regarding electronic storage of law firm files in the wake of natural
disasters, such as hurricanes. Some lawyers have asked whether they may store files exclusively
electronically, without retaining a paper copy.

        There are very few Rules Regulating The Florida Bar that address records retention.
Rule 4-1.5(f)(4) requires that lawyers retain copies of executed contingent fee contracts and
executed closing statements in contingent fee cases for 6 years after the execution of the closing
statement in each contingent fee matter. Additionally, lawyers who are paid by insurance
companies to represent insureds must retain a copy of the Statement of Insured Client’s Rights
that the lawyer has certified was sent to the client for 6 years after the matter is closed. Rule 4-
1.8(j), Rules of Professional Conduct. Copies of advertisements and records of the dissemination
location and dates must be retained for 3 years after their last use. Rule 4-7.7(h), Rules of
Professional Conduct. Finally, trust accounting records must be retained for 6 years following
the conclusion of the matter to which the records relate. Rule 5-1.2(d), Rules Regulating The
Florida Bar.

        The Rules Regulating The Florida Bar, with limited exception, do not specify the method
by which records must be retained. As an example of an exception, Rule 5-1.2(b)(3) requires
that lawyers retain original cancelled trust account checks, unless the financial institution they
are drawn on will provide only copies. [Note: Rule 5-1.2(b)(3) has since been amended to allow
either original cancelled checks or copies as long as they are legible and include all
endorsements and tracking information.]

       The committee has indicated in prior opinions that “the attorney must place primary
emphasis on the desires of the client.” Florida Ethics Opinion 81-8. The committee has further
determined that lawyers should make diligent attempts to contact clients to determine their
wishes regarding file retention before the lawyer destroys any closed files. Florida Ethics
Opinions 63-3, 71-62, and 81-8. These opinions are silent as to the method of file retention.




                                      Exhibit 6
             Case 17-23693-LMI         Doc 100      Filed 11/27/20     Page 36 of 36




        Many opinions from other states address records retention issues and, more specifically,
whether files may be stored electronically as opposed to paper copies. These opinions, too
numerous to cite, raise issues specific to electronic document retention that the committee finds
worthy of mention. The opinions generally conclude that, with appropriate safeguards,
electronic document retention is permissible. See, e.g., ABA Informal Ethics Opinion 1127
(1970) (Lawyers may use company that stores attorney files on computer as long as the material
is available only to the particular attorney to whom the files belong, the company has procedures
to ensure confidentiality, and the lawyer admonishes the company that confidentiality of the files
must be preserved); New York County Ethics Opinion 725 (1998) (Permissible for a lawyer to
retain only electronic copies of a file if “the evidentiary value of such documents will not be
unduly impaired by the method of storage”); New York State Ethics Opinion 680 (1996)
(Client’s file may be stored electronically except documents that are required by the rules to be
kept in original form, but lawyer should ensure that documents stored electronically cannot be
inadvertently destroyed or altered, and that the records can be readily produced when necessary);
and North Carolina Ethics Opinion RPC 234 (1996) (Closed client files may be stored
electronically as long as the electronic documents can be converted to paper copies, except for
“original documents with legal significance, such as wills, contracts, stock certificates”).

        This committee concludes that the main consideration in file storage is that the
appropriate documents be maintained, not necessarily the method by which they are stored.
Therefore, a law firm may store files electronically unless: a statute or rule requires retention of
an original document, the original document is the property of the client, or destruction of a
paper document adversely affects the client’s interests.

        The committee agrees with other jurisdictions that have noted practical considerations
involved in electronic file storage. The committee cautions lawyers that electronic files must be
readily reproducible and protected from inadvertent modification, degradation or destruction.
The lawyer may charge reasonable copying charges for producing copies of documents for
clients as noted in Florida Ethics Opinion 88-11 Reconsideration. Finally, lawyers must take
reasonable precautions to ensure confidentiality of client information, particularly if the lawyer
relies on third parties to convert and store paper documents to electronic records. Rule 4-1.6,
Rules of Professional Conduct.

         The committee encourages the use of technology, such as electronic file storage, to
facilitate cost-effective and efficient records management. However, the committee is of the
opinion that a lawyer is not required to store files electronically, although a lawyer may do so.
